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   1   Scott H. Sims, State Bar No. 234148
       Andrew D. Stolper, State Bar No. 205462
   2   FRANK SIMS & STOLPER LLP
   3   19800 MacArthur Boulevard, Suite 855
       Irvine, California 92612,
   4   Telephone:       (949) 201-2400
       Facsimile:       (949) 201-2401
   5   astolper@lawfss.com
       ssims@lawfss.com
   6
       Attorneys for Judgment Creditor
   7   JASON FRANK LAW, PLC
   8

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  10                             UNITED STATES DISTRICT COURT

  11                            CENTRAL DISTRICT OF CALIFORNIA

  12
       In re                                      Case No. 8:18-CV-01644-VAP-KES
  13
       EAGAN AVENATTI, LLP,                       JOINT STIPULATION RE APPOINTMENT
  14
       Debtor.                                    OF RECEIVER AND RESTRAINING
  15                                              ORDER

  16                                              [[Proposed] Order Filed Concurrently herewith]
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                                                           JOINT STIPULATION RE APPOINTMENT OF
                                                 -1-
                                                               RECEIVER AND RESTRAINING ORDER
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   1                                               STIPULATION
   2           This Stipulation is entered into by and between Judgment Debtor Eagan Avenatti, LLP
   3   (“EA”) and Michael Avenatti (“Avenatti”), on the one hand, and Judgment Creditor Jason Frank
   4   Law, PLC (“JFL”), on the other hand (collectively, the “Parties”).
   5           WHEREAS, JFL has a judgment against EA in the amount of $10,000,000.00, plus
   6   accruing interest at $564.38 per day (since May 22, 2018) and reasonable attorney fees and costs
   7   incurred by JFL in enforcing the judgment (the “Judgment”);
   8           WHEREAS, on February 7, 2019, this Court ordered EA and Avenatti to appear for a
   9   judgment debtor examination on February 14, 2019 at 9:30 a.m. in Courtroom 6D of this Court
  10   (Doc. 50);
  11           WHEREAS, on February 12, 2019, JFL filed a Motion for Appointment of Receiver and
  12   Restraining Order (“Motion”) (Doc. No. 51);
  13           WHEREAS, EA and Avenatti have stipulated and agreed to the relief requested in the
  14   Motion and have further agreed that the Magistrate Judge Karen E. Scott shall have the jurisdiction
  15   and authority to enter the [Proposed] Order Appointing Receiver and Issuing Restraining Order (the
  16   “Order”) filed concurrently herewith; and
  17           WHEREAS, upon entry of the Order, JFL has agreed to withdraw the Motion and all
  18   pleadings and exhibits relating thereto and consent to the rescheduling of the judgment debtor exam
  19   to March 8, 2019 at 9:30 a.m. in Courtroom 6D of this Court.
  20           ACCORDINGLY, the Parties stipulate and agree as follows:
  21           1. The Parties, and each of them, stipulate to the terms of the Order;
  22           2. The Parties, and each of them consent to the jurisdiction of the Magistrate Judge Karen
  23                E. Scott to enter the Order and to supervise the Receivership;
  24           3. Upon entry of the Order, the Motion is deemed withdrawn without prejudice; and
  25           4. Upon entry of the Order, the judgment debtor exam of EA and Avenatti is continued to
  26                March 8, 2019 at 9:30 a.m. in Courtroom 6D of this Court, located at 411 W. 4th Street,
  27                Santa Ana, California 92701.
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                                                                 JOINT STIPULATION RE APPOINTMENT OF
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                                                                     RECEIVER AND RESTRAINING ORDER
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